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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


    FEDERAL DEPOSIT INSURANCE
    CORPORATION, as receiver for
    DORAL BANK,

         Plaintiff,

                   v.                         Civil No. 15-2590 (FAB)

    WALTER RAFAEL PEDREIRA PÉREZ,
    et al.,

         Defendants.


                             OPINION AND ORDER 1

BESOSA, District Judge.

        Plaintiff Federal Deposit Insurance Corporation, as receiver

for Doral Bank (“Doral”) (“FDIC-R”) filed a second motion to

dismiss counterclaims filed by defendants Walter Rafael Pedreira-

Pérez      (“Pedreira”),      María     de     Lourdes     Blázquez-Arzuaga

(“Blázquez”), and the conjugal partnership constituted by them

(collectively, “defendants”) pursuant to Federal Rule of Civil

Procedure Rule 12(b)(1) (“Rule 12(b)(1)”).           (Docket No. 23.)     Id.

For the reasons set forth below, the Court GRANTS the FDIC-R’s

motion to dismiss the counterclaims, with prejudice.                 (Docket

No. 23.)




1 Brett Uslaner, a second-year student at Fordham University School of Law,
assisted in the preparation of this Opinion and Order.
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I.     Background

       Doral commenced a foreclosure action on October 10, 2014 in

the Puerto Rico Court of First Instance to recover the collateral

pledged by the defendants pursuant to the defendants’ mortgage

contract (“loan”).        (Docket No. 1, Ex. 3 at pp. 1 and 11.)              On

January 13, 2015, the defendants answered and filed counterclaims,

alleging “that Doral, in violation of various rules, regulations,

or law, refused or otherwise failed to properly process a loss

mitigation application through which the Defendants had sought

certain relief relating to the Loan.”              (Docket No. 23 at p. 2.)

       While the foreclosure action was pending in the Puerto Rico

Court   of     First   Instance,    the   Office    of   the   Commissioner   of

Financial Institutions closed Doral and appointed the FDIC as

Doral’s receiver.        (Docket No. 23 at p. 2.)         “[T]he FDIC, in its

capacity as receiver, succeeded to all of Doral’s rights, titles,

powers, privileges, assets, and liabilities, including Doral’s

interest in this action.”          Id. (citing 12 U.S.C. § 1821(d)); see

O'Melveny & Myers v. FDIC, 512 U.S. 79, 86 (1994) (holding that

pursuant to the language of 12 U.S.C. § 1821(d)(2)(A) the FDIC

“steps into the shoes” of a failed institution).               The FDIC stepped

into    this    action   “only     as   the   counterclaim     defendant,     not

plaintiff, so that it could defend the Counterclaims that had been
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filed against Doral.”        (Docket No. 23 at p. 2; Docket No. 25 at

p. 2.)

     In May 2015, the FDIC-R notified the defendants that proof of

claims for consideration were to be submitted to it no later than

June 4, 2015.      (Docket No. 23 at p. 2.)       Pedreira did not comply

with this requirement.       Id. at p. 10.    Blázquez submitted a timely

proof of claim on June 4, 2015.        Id. at p. 8.     The FDIC disallowed

Blázquez’s claim and sent Blázquez notification of its decision on

November 13, 2015 (“disallowance letter”).           Id.   Blázquez did not

take any action in connection with this matter until April 25,

2016, when she filed a notice of appearance before this Court.

See Docket No. 7.

     The FDIC-R removed the action to this Court on October 20,

2015.     (Docket No. 1.)      Defendants filed a motion in which they

indicate that Banco Popular de Puerto Rico acquired the note and

loan.     (Docket No. 11-1.)      In March 2018, the Court ordered the

FDIC-R to confirm whether “Banco Popular de Puerto Rico ha[d]

acquired the note and loan and, if so, whether this Court ha[d]

jurisdiction over the subject matter of this case.”                    (Docket

No. 13.)     In response to the Court order, the FDIC-R filed a motion

to dismiss the defendants’ counterclaims for lack of subject-

matter    jurisdiction     because   the   defendants   “failed   to      submit

[their claims] to the FDIC for consideration by the claims bar
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date.”     (Docket No. 18 at p. 2.)          The defendants opposed the FDIC-

R’s   motion,       asserting      that     Blázquez    did    submit       a   timely

administrative claim, Docket No. 19, and the FDIC-R withdrew its

motion.     (Docket No. 20.)

      On April 27, 2018, the FDIC-R filed a second motion to dismiss

claiming on other grounds that the Court does not have subject-

matter jurisdiction.            (Docket No. 23 at p. 3.)            The FDIC-R moved

to dismiss the defendants’ counterclaims with prejudice “because

the   Defendants          did    not      properly     exhaust       the    mandatory

administrative claims process established under Title 12.”                      Id. at

p. 4. It contends that the Financial Institutions Reform, Recovery

and Enforcement Act of 1989 (“FIRREA”) establishes a mandatory

administrative claims review process (“review process”) and that

failure to comply with this process precludes judicial review of

any claim against the FDIC.            Id. at p. 6.      The FDIC-R argues that

the defendants’ counterclaims should be dismissed because the

defendants did not exhaust the review process.                   Id. at p. 5.

      On May 11, 2018, the defendants opposed the FDIC-R’s motion,

contending that their failure to seek judicial review within the

60-day     period    is   not    dispositive     because      the    FDIC   sent   the

disallowance letter to the wrong address, which, the defendants

argue, constitutes insufficient notice.                (Docket No. 25 at pp. 3-

4.)   The defendants also assert that Blázquez fully complied with
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FIRREA by filing a timely proof of claim and that Blázquez’s filing

is applicable to Pedreira’s counterclaim.         Id. at p. 4.

II.   Discussion

      A.   Legal Standard

           A party may move to dismiss an action for lack of

subject-matter jurisdiction.      See Fed.R.Civ.P. 12(b)(1).      Subject-

matter jurisdiction is properly invoked when a plaintiff asserts

a colorable claim “arising under” the United States Constitution

or federal law.    28 U.S.C. § 1331; Arbaugh v. Y&H Corp., 546 U.S.

500, 513 (2006) (internal citation omitted).         “Generally, a claim

arises under federal law within the meaning of section 1331 if a

federal cause of action emerges from the face of a well-pleaded

complaint.”    Viqueira v. First Bank, 140 F.3d 12, 17 (1st Cir.

1998) (internal citations omitted).

           In considering a Rule 12(b)(1) motion, the Court “must

credit the plaintiff’s well-pled factual allegations and draw all

reasonable inferences in the plaintiff’s favor.”             Merlonghi v.

U.S., 620 F.3d 50, 54 (1st Cir. 2010) (internal citations omitted).

Federal courts are courts of limited jurisdiction, Destek Grp. v.

State of N.H. Pub. Utils. Comm’n, 318 F.3d 32, 38 (1st Cir. 2003),

and a court “ha[s] the duty to construe [its] jurisdictional grants

narrowly.”    Fina Air, Inc. v. United States, 555 F. Supp. 2d 321,

323 (D.P.R. 2008) (Besosa, J.) (internal citations omitted).            The
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party asserting jurisdiction carries the burden of showing the

existence of federal jurisdiction.              Viqueira, 140 F.3d at 16

(internal citations omitted).

     B.     FIRREA Review Process

            FIRREA sets forth a statutory claims process “designed

to create an efficient administrative protocol for processing

claims against failed banks.”           Marquis v. FDIC, 965 F.2d 1148,

1154 (1st Cir. 1992).       Pursuant to the review process, the FDIC is

required    “to   publish    notice     that    the    failed    institution’s

creditors must file claims with the FDIC by a specified date, which

must be at least ninety days after publication of the notice.”

Acosta-Ramírez v. Banco Popular de Puerto Rico, 712 F.3d 14, 19

(1st Cir. 2013) (citing 12 U.S.C. § 1821(d)(3)(B)(i)); FDIC v.

Kane, 148 F.3d 36, 38 (1st Cir. 1998).

            If a timely claim is filed, the FDIC must decide whether

to approve or disallow the claim within 180 days.               Acosta-Ramírez,

712 F.3d at 19 (citing § 1821(d)(5)(A)(i)); Simon v. FDIC, 48 F.

3d 53, 56 (1st Cir. 1995).        “Claimants then have sixty days from

the date of disallowance or from the expiration of the 180–day

administrative decision deadline to seek judicial review in an

appropriate federal district court (or to seek administrative

review).”     Acosta-Ramírez,     712    F.3d   at    19   (citing   12    U.S.C.

§ 1821(d)(6)(A)).      Once     the   sixty-day       period    expires,   “such
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disallowance shall be final, and the claimant shall have no further

rights or remedies with respect to such claim.”         Id. at n.8 (citing

12 U.S.C. § 1821(d)(6)(B)).

            FIRREA   restricts    “the   jurisdiction   of   courts      [from]

hear[ing] certain claims where the plaintiff has not complied with

the statutory claims process” in 12 U.S.C. § 1821 (“section 1821”).

Acosta-Ramírez, 712 F.3d at 19.          Section 1821(d)(13)(D) provides

that:

     Except as otherwise provided in this subsection, no
     court shall have jurisdiction over—

     (i)       any claim or action for payment from, or any
               action seeking a determination of rights with
               respect to, the assets of any depository
               institution for which the [FDIC] has been
               appointed receiver, including assets which the
               [FDIC] may acquire from itself as such receiver;
               or

     (ii)      any claim relating to any act or omission of such
               institution or the [FDIC] as receiver.

12 U.S.C. § 1821(d)(13)(D) (emphasis added).          “[T]he failure . . .

to comply with the sixty-day requirement to seek judicial review

of the denial of [] administrative claims also deprives courts of

jurisdiction.”       Acosta-Ramírez, 712 F.3d at 20.         Consequently,

“[c]ompliance with and exhaustion of the administrative procedure

is mandatory.”       FDIC v. Sánchez-Castro, No. 15-1954, 2016 WL

4257336, at *2 (D.P.R. 2016) (García-Gregory, J.) (citing Marquis,
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965 F.2d at 1151).      If a claimant fails to comply with the review

process, no court has subject-matter jurisdiction to hear the case.

            A   Court   should   dismiss   claims   with   prejudice     where

claimants fail to exhaust the review process.           See, e.g., FDIC v.

Estrada-Colón, 848 F. Supp. 2d 206, 212-13 (D.P.R. 2012) (Delgado-

Colón, J.); FDIC v. Estrada-Rivera, 813 F. Supp. 2d 265, 269-79

(D.P.R. 2011) (Gelpí, J.); FDIC v. Negrón-Ocasio, No. 15-1888,

2016 WL 3920173 (D.P.R. July 18, 2016) (Delgado-Hernández, J.);

FDIC   v.   Navarro-López,    No.   15-1914,   2016   WL   3461204   (D.P.R.

June 21, 2016) (Delgado-Hernández, J.).

       C.   The FDIC-R’s Motion to Dismiss

            The FDIC-R argues that the defendants’ counterclaims

should be dismissed for failure to comply with the review process.

(Docket No. 23 at p. 4.)         The FDIC-R contends that “all courts

lack subject matter jurisdiction over claims asserted against the

FDIC as receiver unless such claims have been timely submitted and

exhausted through the administrative claims process.”           Id. at p. 7
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(citing cases). 2      The FDIC-R concludes that because the review

process    is    mandatory,   the    defendants’        noncompliance    warrants

dismissal of the counterclaims.          The Court agrees.

            1.     Blázquez’s Counterclaim

                   The FDIC satisfied its statutory duties both to

notify Blázquez of its receivership and to process Blázquez’s

claim. See 12 U.S.C. § 1821. Because the FDIC assumed its position

as receiver to Doral on February 27, 2015 and sent notification to

the defendants “sometime around May of 2015,” the FDIC complied

with      the     90-day      publishing      requirement          pursuant     to

§ 1821(d)(3)(B)(i).        See      Docket   No.   23    at   p.   2;   12   U.S.C.

§ 1821(d)(3)(B)(i). 3         The     FDIC    then      mailed     Blázquez     the

disallowance letter on November 13, 2015, complying with the 180-



2 The FDIC cites cases from the First, Third, Fifth, and Eighth Circuit Courts

of Appeals. (Docket No. 23 at p. 7 (citing Simon v. FDIC, 48 F.3d 53, 56 (1st
Cir. 1995) (“Section 1821(d)(13)(D)(i) bars all claims against the assets of a
failed financial institution which have not been presented under the
administrative claims review process (‘ACRP’) . . . [f]ailure to comply with
the ACRP deprives the courts of subject matter jurisdiction over any claim to
assets of the failed financial institution.”); Wujick v. Dale & Dale, Inc., 43
F.3d 790 (3rd Cir. 1994) (“Since the state court also lacked subject matter
jurisdiction for the same reason, a remand by the district court would be a
vacuous act. We will therefore direct the district court to dismiss the claims
against RTC.”); Meliezer v. RTC, 952 F.2d 879, 882-883 (5th Cir. 1992) (holding
that “section 1821(d)(13)(D) clearly establishes a statutory exhaustion
requirement . . .” and because plaintiffs “failed to exhaust the administrative
remedies as directed by FIRREA; the district court lacked subject matter
jurisdiction over their claims.”); Bueford v. RTC, 991 F.2d 481, 485 (8th Cir.
1993) (“Every court that has considered the issue has found exhaustion of
FIRREA’s administrative remedies to be a jurisdictional prerequisite to suit in
district court.”).)

3   The defendants do not contest that the FDIC met the 90-day publishing
requirement pursuant to section 1821(d)(3)(B)(i).
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day period after reviewing Blázquez’s proof of claim, which she

submitted on June 4, 2015.      (Docket No. 23 at p. 8; see 12 U.S.C.

§ 1821(d)(5)(A)(i).)

                  Blázquez, however, failed to exhaust the mandatory

review process.    See Acosta-Ramírez, 712 F.3d at 19.             Blázquez did

not seek judicial review or continue her case in court within the

“sixty (60) days after the disallowance of the claim, or 180 days

after the expiration of the administrative decision deadline.”

Sánchez-Castro, 2016 WL 4257336, at *2 (citing Acosta-Ramírez, 712

F.3d at 19); see Docket No. 23 at pp. 2-9.               Preexisting claims

that are not continued within the 60-day period are disallowed and

claimants are permanently barred from pursuing all rights or

remedies   in   connection     with   their    claims.       See    12   U.S.C.

§ 1821(d)(6)(B); Simon v. FDIC, 48 F.3d 53, 56 (1st Cir. 1995)

(“Failure to comply with the [review process] deprives the courts

of subject matter jurisdiction over any claim to assets of the

failed financial institution.”).

                  Blázquez’s    contention      that   the   FDIC     provided

insufficient notice is unavailing.            (Docket No. 25 at pp. 3-4.)

Blázquez relies on section 1821(d)(5)(iii), which states:

     The requirements of clause (i) shall be deemed to be
     satisfied if the notice of any determination with
     respect to any claim is mailed to the last address of
     the claimant which appears—
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          (I) on the depository institution’s books;

          (II) in the claim filed by the claimant; or

          (III) in documents submitted in proof of the claim.”

12 U.S.C. § 1821(d)(5)(iii).              Blázquez argues that notice was

insufficient because the FDIC mailed the disallowance letter to

“the address of the mortgaged property not defendants’ address of

record.”     (Docket No. 25 at p. 4.)             She maintains that “a quick

search on the United States Postal Service website does not show

a status for the certified mail number shown on the [disallowance]

letter.”     Id. at p. 4.     Blázquez claims that the FDIC’s failure to

provide adequate notice nullifies the review process requirement

and that the Court has jurisdiction over her claim.                 Id.

                    FIRREA, however, does not provide the opportunity

to waive the mandatory review process when notice is not mailed or

received.     See FDIC v. Beneficial Mortg. Corp., 858 F. Supp. 2d

196, 202 (D.P.R. 2012) (Besosa, J.) (“[FIRREA] does not provide

claimants a waiver or exception to completing the mandatory [review

process] if notice is not mailed.”).                   “[T]he FDIC’s failure to

provide    proper    notice    ‘does    not     relieve   the   claimant    of   the

obligation to exhaust administrative remedies, because the statute

does   not    provide    for    a      waiver     or    exception   under    those

circumstances.’”      RTC v. Haith, 133 F.3d 574, 579 (8th Cir. 1998);

see Tri–State Hotels, Inc. v. FDIC, 79 F.3d 707, 716 (8th Cir.
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1996) (same); see also Guglielmi v. FDIC, 863 F. Supp. 54, 58

(D.R.I. 1994) (“[FIRREA] does not require FDIC to ensure that

claimants actually receive mailed notice.”).                 Consequently, the

Court has no jurisdiction to consider Blázquez’s claim.

             2.     Pedreira’s Counterclaim

                    The     defendants’     arguments    regarding    Pedreira’s

counterclaim are similarly unpersuasive.                The defendants contend

that     Pedreira’s         claim     is   entitled     to    judicial     review

notwithstanding his failure to submit a timely proof of claim.

(Docket No. 25 at p. 4.)              The defendants assert that they “have

one claim that accrues to the benefit of the conjugal partnership

and that [f]iling two independent proof of claim [sic] with respect

to the same cause of action would only benefit redundancy.”                    Id.

at p. 4.     It follows, the defendants argue, that Blázquez’s proof

of     filing     covers    Pedreira’s     counterclaim.         “[A]ll   parties

asserting       claims     against    failed    institutions,”     however,    must

comply    with     the    review     process.    Marquis,    965   F.2d   at   1151

(emphasis added). 4          Because Pedreira failed to comply with the




4 Because all parties asserting claims must comply with the review process, it
follows that Blázquez, Pedreira, and the conjugal partnership, as an entity
separate from its members, must file administrative claims.       See Morales
Figueroa v. Valdés, No. 15-1365, 2016 WL 1171512, at *5 (D.P.R. Mar. 24, 2016)
(Domínguez, J.) (“[A] conjugal partnership constitutes a separate legal entity
from its two spousal members.”) (citing Int’l Charter Mortg. Corp. v. El
Registrador de la Propiedad de P.R., 10 P.R. Offic. Trans. 1126, 1128 (P.R.
1981)).
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review    process,   the   Court    has   no    jurisdiction     to   hear   his

counterclaim.

III. Conclusion

     For the reasons set forth above, the FDIC-R’s motion to

dismiss   the   counterclaims      (Docket     No.   23)   is   GRANTED.     The

counterclaims are dismissed with prejudice.                Judgment shall be

entered accordingly.       Because the Court no longer has subject

matter jurisdiction over this case, it is remanded to the Court of

First Instance, Fajardo Division, case number NSCI 2014-00715

(303), to continue the foreclosure action by the holder of the

note (Banco Popular de Puerto Rico) against the defendants.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, July 11, 2018.


                                          s/ Francisco A. Besosa
                                          FRANCISCO A. BESOSA
                                          UNITED STATES DISTRICT JUDGE
